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                                                                                      The preliminary injunction granted in this case is, and must
  ◊ Certified by the Supreme Court of New Jersey
                                                                                      be, limited to the 2024 Democratic Primary Election.
   as a Municipal Court Attorney
  * Also Member of the New York Bar
                                                                                      Plaintiffs’ allegations and sought relief only applied to the
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                                                                                      2024 Democratic Primary Election. (Verified Complaint,
                                                                                      ECF No. [1]; Plaintiffs’ Moving Brief, ECF No. [5-1] at 9)
                                                                                      (“The Verified Complaint and accompanying documents
                                                   March 29, 2024                     demonstrate that Plaintiffs are virtually certain to be
                                                                                      irreparably harmed by the Defendants’ conduct in the
                                                                                      upcoming June 4, 2024 Democratic Primary Election
 VIA ECF                                                                              (“Primary Election”) absent relief by this Court . . . .”)
 Hon. Zahid N. Quraishi, U.S.D.J.                                                     (emphasis added). The Court’s order is therefore limited to
 United States District Court                                                         the 2024 Democratic Primary Election only, and this Court
                                                                                      declines to extend the scope of its decision beyond the
 District of New Jersey                                                               limitations of the present litigation. Nonetheless, nothing in
 Clarkson S. Fisher Building                                                          this Court’s March 29, 2024 Order prevents the Republican
 402 East State Street                                                                Party and its leadership from appreciating this Court’s
 Trenton, NJ 08608                                                                    preliminary injunction and taking steps to amend the ballot
                                                                                      system for its primary election similar to what this Court has
                                                                                      ordered for the Democratic Primary.
                  RE:                Kim, et al. v. Hanlon, et al.
                                     Civil Action No.: 24-1098 (ZNQ)(TJB)             So Ordered this 30th day of March 2024.

                                                                                      ____________________________
 Dear Judge Quraishi:                                                                 ZAHID N. QURAISHI, U.S.D.J.

         This firm represents the Morris County Republican Committee (“MCRC”), which is not a
 party to the above-referenced matter. We write to confirm that the Court’s Order regarding the
 2024 Democratic Primary is not applicable to the June 4, 2024 Republican primary (“Republican
 Primary”) at this time.

        We recognize that a discussion of the bracketing structure in New Jersey will continue in
 this matter as well as the Conforti case. However, the matter currently before the Court was limited
 to an injunction related to the June 4, 2024 Democratic Primary brought by three democratic
 candidates for federal office. The Verified Complaint defines the “Primary Election” as the June
 4, 2024 Democratic Primary Election. (Verified Complaint, at ¶ 2). The limitation of the Verified
 Complaint to the Democratic primary involving democratic federal candidates makes both logical
 and legal sense as the Plaintiffs (Democratic candidates) are legally ineligible to run in the
 Republican primary. Plaintiffs’ rights are not impacted in any way by the conduct of the
 Republican primary.

         Consistent with the issues raised and relief sought in the Verified Complaint, the Court’s
 Opinion defines the “2024 Primary” as the upcoming 2024 Democratic primary election. (Opinion
 at 2). The Opinion also clarifies that the relief sought is an injunction related to the 2024 Primary
 (as defined in the Opinion). (Opinion at 6). The Court’s Opinion discusses the infringement on
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 Plaintiffs’ rights as to relates to the Democratic primary and as it relates to their status as federal
 candidates (through the Elections Clause discussion). None of those rights are infringed based
 upon the conduct of the 2024 Republican Primary, or to the extent the analysis differs for non-
 federal candidates.

         Based upon the standing of the Plaintiffs, the scope of relief sought in the Verified
 Complaint, and the defined terms in the Court’s opinion, we understand the Court’s Order granting
 an injunction related to the “June 4, 2024 New Jersey Primary Election” to be limited to the June
 4, 2024 Democratic primary, and not to the Republican primary at this time. The Plaintiffs would
 be unable to demonstrate how applicability of the relief to the Republican primary could meet the
 standard for an injunction as it relates to those Plaintiffs, and they would have no standing to do
 so at this time.

         We ask the Court to confirm that the current injunction is limited to the 2024 Democratic
 Primary, as defined in the Verified Complaint and the Court’s Opinion. There is no case or
 controversy before the Court in this matter brought by three federal democratic candidates for
 office, as to the conduct of the 2024 Republican Primary, or as to non-federal candidates. If the
 Court’s Order does extend to the 2024 Republican Primary, we ask that the Order be stayed as to
 the Republican Primary and to permit the MCRC to intervene1 before the Court specifically as to
 the applicability of the Order to the Republican Primary, an election to which the Plaintiffs have
 no interest and to which no relief can be provided based on this current matter
 .

                                                Respectfully submitted,

                                                KING MOENCH & COLLINS LLP

                                                /s/ Peter J. King
                                                Peter J. King, Esq.


                                                /s/ Matthew C. Moench
                                                Matthew C. Moench, Esq.

 cc: All counsel (via ECF)




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   While we recognize that the Verified Complaint indicates that party organizations were served,
 we are unaware of MCRC having received it. Regardless, the MCRC would not have intervened
 in an internal democratic dispute over the democratic primary election.
